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                            IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

RUFF WEAR, INC., an Oregon
corporation,

               Plaintiff,                                   Civ. No. 6:14-cv-00376-MC

       v.                                                   JUDGMENT

ORIGINAL DOG GEAR, ApS,

            Defendant.
_____________________________

       This action is dismissed without prejudice, each party shall bear its own costs, expenses,

and attorneys’ fees, and neither party shall be deemed a prevailing party for any purpose.

       DATED this 21st day of May, 2014.


                       __________s/ Michael J. McShane_____________
                                   Michael J. McShane
                               United States District Judge




1 – OPINION AND ORDER
